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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          :
                                                          :
    In re                                                 : Chapter 11
                                                          :
    FTX TRADING LTD., et al., 1                           : Case No. 22-11068 (JTD)
                                                          : (Jointly Administered)
                                    Debtors.              :
                                                          :
                                                          :
                                                          :

                  FOURTH MONTHLY FEE STATEMENT OF
         PATTERSON BELKNAP WEBB & TYLER LLP AS COUNSEL TO THE
         EXAMINER FOR COMPENSATION FOR PROFESSIONAL SERVICES
     RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED DURING THE
     PERIOD FROM AUGUST 1, 2024 THROUGH AND INCLUDING AUGUST 31, 2024

    Name of Applicant                                       Patterson Belknap Webb & Tyler LLP

    Authorized to Provide Professional Services to Robert J. Cleary, in his capacity as examiner
                                                   appointed in these Chapter 11 Cases
    Date of Retention                              April 19, 2024, nunc pro tunc to March 20,
                                                   2024
    Period for which compensation and August 1, 2024 through August 31, 2024
    reimbursement is sought
    Amount of Compensation sought as actual, $819,176.18
    reasonable and necessary
    80% of Compensation sought as actual, $655,340.94
    reasonable and necessary
    Amount of Expense Reimbursement sought as $247.50
    actual reasonable and necessary:


This is a(n) X monthly ____ interim _____ final application. No prior application has been filed
with respect to this Fee Period.



1
          The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
and 4063, respectively. Due to the large number of Debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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                                                   SUMMARY OF BILLING BY PROFESSIONAL

                                       AUGUST 1, 2024 THROUGH AND INCLUDING AUGUST 31, 2024


TIMEKEEPER                       TITLE              YEAR OF LAW           YEAR OF   HOURLY                 TOTAL HOURS        TOTAL
                                                    SCHOOL                ADMISSION RATE                        BILLED COMPENSATION
                                                    GRADUATION
Robert J. Cleary                 Of Counsel         1980                  1982          $2,235.00                     60.90   $136,111.50
Robert J. Cleary                 Of Counsel         1980                  1982          $1,117.50 1                    2.30     $2,570.25
Of Counsel Total                                                                                                      63.20   $138,681.75
Daniel A. Lowenthal              Partner            1987                  1988          $1,900.00                     71.90   $136,610.00
Daniel A. Lowenthal              Partner            1987                  1988          $950.001                       0.60       $570.00
Lauren S. Potter                 Partner            2009                  2010          $1,640.00                     63.60   $104,304.00
Jason Vitullo                    Partner            2009                  2010          $1,640.00                     85.80   $140,712.00
Partner Total                                                                                                        221.90   $382,196.00
Kimberly Black                   Associate          2017                  2018          $1,310.00                     73.20    $95,892.00
Kimberly Black                   Associate          2017                  2018          $655.001                       1.00       $655.00
Ian Eppler                       Associate          2019                  2019          $1,230.00                     55.50    $68,265.00
Johanna-Sophie Dikkers           Associate          2020                  2021          $1,150.00                     49.30    $56,695.00
Lauren Doxey                     Associate          2021                  In process    $1,045.00                     60.20    $62,909.00
David Erroll                     Practice Area      2001                  2003          $840.00                      100.30    $84,252.00
                                 Associate
David Erroll                     Practice Area      2001                  2003          $420.001                       1.00      $420.00
                                 Associate
Associate Total                                                                                                      340.50   $369,088.00
Maritza Garcia                   Paralegal          N/A                   N/A           $590.00                       33.10    $19,529.00
Ianna Correa                     Project            N/A                   N/A           $230.00                        1.90       $437.00
                                 Assistant


 1
     50% rate appears where time is charged for non-working travel.
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TIMEKEEPER               TITLE        YEAR OF LAW YEAR OF   HOURLY                  TOTAL HOURS        TOTAL
                                      SCHOOL      ADMISSION RATE                         BILLED COMPENSATION
                                      GRADUATION
Roman Kosman-           Electronic    N/A         N/A       $505.00                             0.60       $264.00
Rimskiy                 Discovery
Non-Legal Personnel Total                                                                      35.60     $20,230.00
GRAND TOTAL                                                                                   661.20    $910,195.75
Less 10% Discount                                                                                      ($91,019.58)
TOTAL AMOUNT DUE                                                                                        $819,176.18

                                            Blended Hourly Rate: $1,238.92




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                               SUMMARY OF BILLING BY PROJECT CATEGORY
                           AUGUST 1, 2024 THROUGH AND INCLUDING AUGUST 31, 2024


PROJECT CATEGORY                                                                HOURS        FEE AMOUNT
Examiner Time                                                                     60.90         $136,111.50
Court Hearings                                                                     0.20             $380.00
Report Preparation and Drafting                                                   69.80          $97,243.50
Document Requests and Formal Discovery                                            18.80          $27,790.50
Non-Working Travel                                                                 4.90           $4,215.25
General Case Administration                                                       40.40          $53,223.50
Examiner Investigation Work                                                      336.90         $423,556.50
Communications with Parties in Interest                                           88.10         $132,118.50
Billing and Fee Applications                                                      41.20          $35,556.50
TOTAL                                                                                           $910,195.75
Less 10% Discount                                                                              ($91,019.58)
TOTAL AMOUNT DUE                                                                                $819,176.18




                              SUMMARY OF ACTUAL AND NECESSARY EXPENSES
                           AUGUST 1, 2024 THROUGH AND INCLUDING AUGUST 31, 2024


EXPENSE CATEGORY                            SERVICE PROVIDER, IF APPLICABLE                      AMOUNT
Reproduction – Copies ($0.10 per standard   N/A                                                    $227.50
page; $0.25 per page for color copies)
Overtime Meals                                                                                       $20.00
TOTAL AMOUNT DUE                                                                                   $247.50




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                                   PRIOR MONTHLY FEE STATEMENTS FILED


Date Filed        Period Recovered                Requested Fees     Requested Expenses    Paid Fees       Paid Expenses
May 16, 2024      March 20, 2024 through          $1,709,349.30      $826.05               $1,367,479.44   $826.05
                  April 30, 2024
August 1, 2024    May 1, 2024 through June        $1,533,244.05      $10,480.34            $1,226,595.24   $10,480.34
                  30, 2024
August 30, 2024   July 1, 2024 through July 30,   $518,180.40        $16,188.19            $414,544.32     $16,188.19
                  2024




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          :
                                                          :
    In re                                                 : Chapter 11
                                                          :
    FTX TRADING LTD., et al., 1                           : Case No. 22-11068 (JTD)
                                                          : (Jointly Administered)
                                    Debtors.              :
                                                          :
                                                          :
                                                          :

                  FOURTH MONTHLY FEE STATEMENT OF
         PATTERSON BELKNAP WEBB & TYLER LLP AS COUNSEL TO THE
         EXAMINER FOR COMPENSATION FOR PROFESSIONAL SERVICES
     RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED DURING THE
     PERIOD FROM AUGUST 1, 2024 THROUGH AND INCLUDING AUGUST 31, 2024

            Patterson Belknap Webb & Tyler LLP (“Patterson Belknap”), as counsel to Robert J.

Cleary, as the examiner (“Examiner”) appointed in the above-captioned bankruptcy cases (the

“Chapter 11 Cases”) of FTX Trading Ltd. and certain of its affiliates (collectively, the

“Debtors”), hereby submits this fourth monthly fee statement (the “Monthly Fee Statement”) for

compensation for professional services rendered and reimbursement of expenses incurred during

the period from August 1, 2024 through and including August 31, 2024 (the “Fee Period”). 2 In

support of the Monthly Fee Statement, Patterson Belknap respectfully states as follows:




1
          The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
and 4063, respectively. Due to the large number of Debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
         This Monthly Fee Statement seeks compensation for professional services rendered to Robert J. Cleary in
his capacity as Examiner as well as professional services rendered by Mr. Cleary in his capacity as Examiner. Mr.
Cleary spent 63.20 hours performing services as Examiner. In total, this Monthly Fee Statement seeks $138,681.75
for professional services rendered by the Examiner.
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                                       BACKGROUND

               1.     On November 11 and 14, 2022, the Debtors filed with the United States

Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for relief under

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended or modified from time

to time, the “Bankruptcy Code”). The Debtors continue to operate and manage their properties

as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Joint

administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the Court by

entry of an order on November 22, 2022, ECF No. 128. On December 15, 2022, the United

States Trustee for Region 3 (the “U.S. Trustee”) appointed an official committee of unsecured

creditors in the Chapter 11 Cases (the “Creditors’ Committee”). See ECF No. 231.

               2.     On January 9, 2023, the Court entered the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals, ECF No. 435 (the

“Interim Compensation Order”).

               3.     On March 8, 2023, the Court entered the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses, ECF No. 834, appointing Katherine Stadler (the “Fee

Examiner”) to serve as the fee examiner in these Chapter 11 Cases and establishing certain

procedures in connection therewith.

               4.     On February 23, 2024, the Court entered an order directing the U.S.

Trustee to appoint an examiner in these Chapter 11 Cases, ECF No. 7909. On March 20, 2024

(the “Appointment Date”), the Court entered (i) the Order Approving the Appointment of

Examiner, ECF No. 9882 (the “Appointment Order”) and (ii) the Order (I) (A) Establishing the

Scope, Cost, Degree, and Duration of the Examination and (B) Granting Related Relief; and (II)




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Permitting the Filing of Certain Information Regarding Potential Parties in Interest Under Seal,

ECF No. 9883 (the “Examination Scope Order”).

               5.     The Examination Scope Order provides that the Examiner and any

professional retained by the Examiner will be compensated pursuant to and in accordance with

the Interim Compensation Order, sections 330 and 331 of the Bankruptcy Code, and any other

applicable provisions of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

and the Local Rules of Bankruptcy Practice and Procedure for the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”).

               6.     On April 1, 2024, the Examiner filed the Examiner’s (I) Application for an

Order Authorizing the Retention and Employment of Patterson Belknap Webb & Tyler LLP as

Counsel to the Examiner, Nunc Pro Tunc to the Appointment Date and (II) Motion to File Under

Seal Certain Information Regarding Potential Parties in Interest, ECF No.10870 (the “Retention

Application”) seeking authorization to retain and employ Patterson Belknap as counsel to the

Examiner, nunc pro tunc to the Appointment Date. The Retention Application was approved on

April 19, 2024. See ECF No. 12256.

               7.     On June 26, 2024, the Court entered the Order (I) Granting the Examiner

Authority to Conduct Additional Investigations and (II) Establishing the Scope, Cost, Degree,

and Duration of the Second Phase of the Examination and Granting Related Relief, ECF No.

19061 (the “Second Scope Order”). Pursuant to the Second Scope Order, the Examiner was

authorized to conduct certain further investigations (the “Phase II Examination”), and the costs

of the Phase II Examination shall not exceed $3,000,000.




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                                    RELIEF REQUESTED

       8.      By this Monthly Fee Statement, and in accordance with the Interim Compensation

Order, Patterson Belknap, as counsel to the Examiner nunc pro tunc to the Appointment Date,

makes this application for: (i) allowance of compensation as an administrative expense of the

Debtors’ estates in the amount of $819,176.18 for reasonable and necessary professional services

rendered; (ii) interim payment of compensation in the amount of $655,340.94 (80% of the total

compensation requested); and (iii) interim allowance and payment of $247.50 for actual and

necessary expenses incurred during the Fee Period.

               a. Compensation Requested

       9.      During the Fee Period, Patterson Belknap represented and assisted the Examiner

with the discharge of his duties and responsibilities as Examiner pursuant to the Examination

Scope Order, the Second Scope Order, other orders of this Court, and applicable law. This work

included, among other necessary legal services, the following tasks:

               a. drafting and revising the report contemplated by the Second Scope Order (the
                  “Phase II Report”);

               b. researching legal and factual issues related to the Phase II Report;

               c. assisting with the review of documents and other materials in connection with
                  the Examiner’s Phase II Examination;

               d. preparing motions, applications, notices, orders and other documents
                  necessary for the Examiner to discharge his duties as Examiner;

               e. analyzing legal issues in connection with the Examiner’s discharge of his
                  duties, including legal issues involving anonymization; and

               f. communicating with various third-parties and parties-in-interest, including
                  participating in meetings, coordinating and conducting witness interviews, and
                  requesting voluntary document productions.

       10.     All of the work performed by Patterson Belknap was and is necessary for the

Examiner to appropriately discharge his duties and responsibilities.


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       11.     Attached hereto as Exhibit A is a detailed itemization, by project category, of all

services performed by Patterson Belknap in connection with the Chapter 11 Cases during the Fee

Period. This detailed itemization complies with Local Rule 2016-2 in that each time entry

contains a separate time allotment, a description of the type of activity, and the subject matter of

the activity. Furthermore, all time is billed in increments of one-tenth of an hour (six minutes),

time entries are presented chronologically in categories, and all meetings or hearings are

individually identified.

               b. Expense Reimbursement

       12.     During the Fee Period, Patterson Belknap incurred $247.50 in out-of-pocket

expenses. Attached hereto as Exhibit B is a description of the expenses actually incurred by

Patterson Belknap in its performance of services to the Examiner. The expenses are broken

down into categories of charges, which include copying/printing and working meals. Patterson

Belknap is only seeking reimbursement for the actual cost of such expenses in accordance with

section 330 of the Bankruptcy Code. Patterson Belknap submits that all expenses incurred were

customary, necessary, and related to the Chapter 11 Cases and requests reimbursement of the

same through this Monthly Fee Statement.

                                 VALUATION OF SERVICES

       13.     Patterson Belknap’s professionals have expended 661.20 hours in connection with

the Chapter 11 Cases during the Fee Period.

       14.     Exhibit A lists out the amount of time spent by each Patterson Belknap

professional. Patterson Belknap’s hourly rates for this matter are the customary and comparable

hourly rates in effect as of January 1, 2024. Given the public-interest nature of this assignment,




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Patterson Belknap has provided a 10% discount on its fees. The reasonable value of the services

rendered by Patterson Belknap as counsel to the Examiner is $819,176.18.

        15.     Patterson Belknap believes that the time entries attached hereto as Exhibit A and

the expense breakdown attached hereto as Exhibit B are each in compliance with the

requirements of Local Rule 2016-2.

        16.     In accordance with section 330 of the Bankruptcy Code, the amount requested by

this Monthly Fee Statement is fair and reasonable given the complexities of these Chapter 11

Cases, the tasks and duties assigned to the Examiner, the time expended, the nature and extent of

the services rendered, the value of such services, and the costs of comparable services other than

in a case under this title.

                      CERTIFICATE OF COMPLIANCE AND WAIVER

        17.     The undersigned representative of Patterson Belknap certifies that he has

reviewed the requirements of Local Rule 2016-2 and that the Monthly Fee Statement

substantially complies with such rule. To the extent that the Monthly Fee Statement does not

comply in all respects with the requirements of Local Rule 2016-2, Patterson Belknap believes

such deviations are not material and respectfully requests that any such requirements be waived.

                              NOTICE AND NO PRIOR REQUEST

        18.     Notice of this Monthly Fee Statement has been given to (a) the U.S. Trustee; (b)

the Debtors; (c) the Creditors’ Committee; (d) the Fee Examiner; and (e) all parties that are

required to be given notice pursuant to the Interim Compensation Order. In light of the nature of

the relief requested and the provisions of the Interim Compensation Order, Patterson Belknap

submits that no other or further notice need be provided.




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         19.     No previous request for the relief sought herein has been made to this or any other

court.

                 WHEREFORE Patterson Belknap respectfully requests that the Bankruptcy Court

(i) approve the Monthly Fee Statement, and (ii) grant such other and further relief as deemed just

and proper.




 Dated: September 30, 2024                            Respectfully submitted,

                                                      PATTERSON BELKNAP WEBB &
                                                      TYLER LLP

                                                      By:    /s/ Daniel A. Lowenthal

                                                      Daniel A. Lowenthal (admitted pro hac vice)
                                                      Kimberly A. Black (admitted pro hac vice)
                                                      1133 Avenue of the Americas
                                                      New York, NY 10036-6710
                                                      Telephone: (212) 336-2000
                                                      Facsimile: (212) 336-2222
                                                      Email: dalowenthalowenthal@pbwt.com
                                                      Email: kblack@pbwt.com


                                                      Lead counsel to Robert J. Cleary in his
                                                      capacity as Examiner appointed in the
                                                      Chapter 11 Cases




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